Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25          Page 1 of 30    Page ID
                                        #4975



                    IN THE UNITED STATES DISTRICT COURT
                     FOR SOUTHERN DISTRICT OF ILLINOIS

 KELLIN JOHNS, individually and on )
 behalf of all others similarly situated, )
 and JUAN BARRON,                         )
                                          )
                 Plaintiffs,              )
                                          )         Case No. 3:20-cv-264-DWD
 vs.                                      )
                                          )
 PAYCOR, INC.,                            )
                                          )
                 Defendant.               )

                              MEMORANDUM & ORDER

DUGAN, District Judge:

       Before the Court are Defendant’s Amended Motion to Dismiss under Federal Rule

of Civil Procedure 12(b)(6) (Docs. 106 & 107), Plaintiffs’ Renewed Motion for Class

Certification under Federal Rule of Civil Procedure 23 (Doc. 103), and Defendant’s

Motion to Strike New Arguments and Evidence from Plaintiffs’ Reply in Support of Class

Certification (Doc. 151; Sealed Doc. 152). The two former Motions are contested. (Docs.

116, 125, 148). The latter Motion is uncontested. For the reasons explained below, the

Amended Motion to Dismiss is DENIED, the Renewed Motion for Class Certification is

GRANTED in part and DENIED in part, and the Motion to Strike is DENIED as moot.

                                   I. BACKGROUND

       On October 29, 2020, Plaintiffs filed a First Amended Class Action Complaint,

alleging violations of the Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1 et

seq. (Doc. 40). Plaintiffs were employees at various fitness centers, owned by Club Fitness,

Inc., in the St. Louis Metro east region. (Doc. 40, pg. 12). Defendant designs and
                                             1
Case 3:20-cv-00264-DWD            Document 155 Filed 03/28/25               Page 2 of 30       Page ID
                                            #4976



manufactures “Biometric Time Clocks,” which were utilized by Club Fitness, Inc., “that

require scans of users’ biometric data in order for those users to clock in and out of work.”

(Doc. 40, pgs. 1-2, 12). Plaintiffs were allegedly required to scan their fingerprints, but not

their hand geometry, “on Paycor’s Biometric Time Clock at Club Fitness so [that] they

could be used as an authentication method to track their time worked.” (Doc. 40, pg. 12).

Defendant allegedly “disregards Biometric Time Clock users’ statutorily protected

privacy rights and unlawfully collects, captures, otherwise obtains, stores, maintains, and

uses their biometric data in violation of BIPA.” (Doc. 40, pgs. 1-2, 4-5, 9-12).

        Plaintiffs initiated this lawsuit alleging Defendant: (1) failed to institute, maintain,

and adhere to a publicly available retention schedule under § 15(a) of BIPA (First Cause

of Action); (2) failed to obtain an informed written consent and release before obtaining

biometric identifiers or information under § 15(b) of BIPA (Second Cause of Action); and

(3) disclosed biometric identifiers and information without consent under § 15(d) of

BIPA. (Doc. 40, pgs. 4-5, 9-12, 17-21). They seek, inter alia, class certification, declaratory

relief, injunctive relief, and statutory damages. (Doc. 40, pgs. 5, 22). 1

                                           II. ANALYSIS

            A. Defendant’s Amended Motion to Dismiss under Rule 12(b)(6)

        Defendant’s Amended Motion to Dismiss is filed under Rule 12(b)(6), which

allows challenges to a pleading based upon the failure to state a claim for which relief

may be granted. Fed. R. Civ. P. 12(b)(6); Firestone Fin. Corp. v. Meyer, 796 F.3d 822, 825 (7th


        1The Court notes this case was stayed, pending the resolution of certain appeals by the Seventh

Circuit and Illinois Appellate Court, between May 11, 2021, and May 8, 2024. (Docs. 65 & 99). During that
time, this Court also resolved issues presented under the Colorado River Doctrine. (Docs. 82 & 99).

                                                   2
Case 3:20-cv-00264-DWD          Document 155 Filed 03/28/25            Page 3 of 30      Page ID
                                          #4977



Cir. 2015) (quoting Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 736 (7th Cir. 2014)).

To survive a Rule 12(b)(6) motion, which tests the sufficiency of the pleading but not its

merits, the plaintiff must allege enough facts for the claim to be facially plausible. Kloss v.

Acuant, Inc., 462 F. Supp. 3d 873, 876 (7th Cir. 2020) (quoting McReynolds v. Merrill Lynch

& Co., Inc., 694 F.3d 873, 878 (7th Cir. 2012)); Fosnight v. Jones, 41 F.4th 916, 921-22 (7th Cir.

2022) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). This means plaintiff

pled enough facts for the Court to draw reasonable inferences as to liability. Fosnight, 41

F.4th at 922 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). A pleading need not allege

“detailed factual allegations,” but it must lift the claim above the speculative level. Kloss,

462 F. Supp. 3d at 876 (citing Twombly, 550 U.S. at 555). “Threadbare recitals,” supported

by mere conclusions, do not suffice. Trivedi v. Wells Fargo Bank, N.A., 609 F. Supp. 3d 628,

631 (N.D. Ill. 2022) (quoting Iqbal, 556 U.S. at 678). When ruling, the Court accepts all well-

pled facts as true and draws all reasonable inferences for the pleader. Id. (quoting Tamayo

v. Blagojevich, 526 F.3d 1074, 1081 (7th Cir. 2008)); accord Kloss, 462 F. Supp. 3d at 874-75.

       In its Amended Motion to Dismiss, Defendant initially admits it sold a finger scan

timeclock to its nonparty customer, Club Fitness; however, Defendant notes it did not

have access to the policies or procedures governing Club Fitness’s use of that timeclock.

(Docs. 106, pg. 1; 107, pgs. 7-8, 12). Defendant also argues a dismissal is warranted on

four independent grounds: (1) Plaintiffs do not adequately allege Defendant violated

BIPA, as there is no allegation Defendant, as opposed to Club Fitness, actively collected,

possessed, disseminated, otherwise obtained, or disclosed or disseminated biometric

identifiers or information; (2) Plaintiffs do not adequately allege negligent, reckless, or

                                                3
Case 3:20-cv-00264-DWD          Document 155 Filed 03/28/25           Page 4 of 30      Page ID
                                          #4978



intentional misconduct by Defendant to support damages; (3) Plaintiffs already

recovered for their BIPA claims in a separate class action lawsuit against Club Fitness;

and (4) the extraterritoriality doctrine bars Plaintiffs’ claims. (Docs. 106, pg. 2; 107, pgs. 7,

9-11, 14-16, 17-24). For these reasons, Defendant argues it is not liable to Plaintiffs, let

alone to the 14,000 other users of the timeclock in Illinois, under BIPA. (Docs. 106, pg. 1).

       Plaintiffs argue, despite the fact Defendant’s arguments are “transparently

disconnected from the significant discovery already conducted,” they did more than

enough to state facially plausible claims to relief under the liberal pleading standards at

play with a Rule 12(b)(6) motion to dismiss. (Doc. 116, pg. 5). For example, Plaintiffs argue

they adequately allege a violation of § 15(b) because Defendant failed to receive informed

consent, before obtaining biometric identifiers or information, and there is no “active

step” requirement. (Doc. 116, pgs. 8-11). Even if there is such a requirement, Plaintiffs

argue it is satisfied here. (Doc. 116, pg. 10). Further, as to § 15(a) and (d), Plaintiffs note

they allege Defendant possessed their biometric identifiers and information on its

servers, failed to maintain a publicly available data retention policy, and failed to obtain

informed consent before collecting and disclosing or disseminating biometric data. (Doc.

116, pgs. 11-14). Finally, Plaintiffs argue they did not have to plead mental state in order

to support damages, they do not seek a duplicative recovery due to Defendant’s “separate

and independent BIPA violations,” and the extraterritoriality doctrine is inapplicable at

this stage of the case and more broadly as a matter of fact. (Doc. 116, pgs. 16-20).

       Now, BIPA was enacted to regulate the collection, use, safeguarding, handling,

storage, retention, and destruction of biometric identifiers and information. Tims v. Black

                                               4
Case 3:20-cv-00264-DWD             Document 155 Filed 03/28/25                 Page 5 of 30        Page ID
                                             #4979



Horse Carriers, Inc., 2023 IL 127801, ¶ 27 (quoting 740 ILCS 14/5(g)). 2 In this case, Plaintiffs

invoke § 15(a), (b), and (d) of BIPA, which collectively pertain to the retention, collection,

disclosure, and destruction of biometric identifiers and information.

       Section 15(a) of BIPA provides as follows:

       A private entity in possession of biometric identifiers or biometric
       information must develop a written policy, made available to the public,
       establishing a retention schedule and guidelines for permanently
       destroying biometric identifiers and biometric information when the initial
       purpose for collecting or obtaining such identifiers or information has been
       satisfied or within 3 years of the individual’s last interaction with the
       private entity, whichever occurs first. Absent a valid warrant or subpoena
       issued by a court of competent jurisdiction, a private entity in possession of
       biometric identifiers or biometric information must comply with its
       established retention schedule and destruction guidelines.

740 ILCS 14/15(a).

       A plaintiff cannot merely allege a procedural failure to publicly disclose a data

retention policy under § 15(a). See Fox v. Dakkota Integrated Sys., LLC, 980 F.3d 1146, 1149

(7th Cir. 2020) (discussing Bryant v. Compass Grp. USA, Inc., 958 F.3d 617 (7th Cir. 2020)).

The duty to develop a publicly available written policy, establishing a retention schedule

and guidelines for destroying biometric identifiers or information, is owed to the public

rather than to particular persons whose biometric identifiers or information are collected

by a private entity. Thornley v. Clearview AI, Inc., 984 F.3d 1241, 1245 (7th Cir. 2021)

(discussing Bryant); accord Patterson v. Respondus, Inc., 593 F. Supp. 3d 783, 802 (N.D. Ill.

2022). However, a plaintiff may allege an injury related to the invasion of privacy interests



       2“Biometric identifier” means “a retina or iris scan, fingerprint, voiceprint, or scan of hand or face

geometry,” while “biometric information” includes any information “based on an individual’s biometric
identifier [that is] used to identify an individual.” 740 ILCS 14/10.

                                                     5
Case 3:20-cv-00264-DWD          Document 155 Filed 03/28/25           Page 6 of 30      Page ID
                                          #4980



by invoking “the full panoply” of § 15(a), i.e., by invoking the duties to develop, publicly

disclose, and comply with data retention and destruction policies. Fox, 980 F.3d at 1149,

1154-55; accord Warmack-Stillwell v. Christian Dior, Inc., 655 F. Supp. 3d 742, 744-45 (N.D.

Ill. 2023); Sosa v. Onfido, Inc., 600 F. Supp. 3d 859, 868-69 (N.D. Ill. 2022). Such violations

may result in the retention of biometric identifiers or information for longer than is

allowed by law. Fox, 980 F.3d at 1149, 1154-55; accord Patterson, 593 F. Supp. 3d at 802.

       Further, § 15(b) of BIPA states:

       No private entity may collect, capture, purchase, receive through trade, or
       otherwise obtain a person’s or a customer’s biometric identifier or biometric
       information, unless it first:

              (1) informs the subject or the subject’s legally authorized
              representative in writing that a biometric identifier or biometric
              information is being collected or stored;

              (2) informs the subject or the subject’s legally authorized
              representative in writing of the specific purpose and length of term
              for which a biometric identifier or biometric information is being
              collected, stored, and used; and

              (3) receives a written release executed by the subject of the biometric
              identifier or biometric information or the subject’s legally authorized
              representative.

740 ILCS 14/15(b); see also Cothron v. White Castle Sys., Inc., 2023 IL 128004, ¶ 23 (finding,

in the context of § 15(b), “collect” means “to receive, gather, or exact from a number of

persons or other sources,” and “capture” means “to take, seize, or catch”) (quoting

Webster’s Third New International Dictionary 334, 444 (1993)).

       Since § 15(b) confers a right to receive certain information from a private entity

that collects, stores, or uses biometric identifiers or information, the violation of that right,


                                               6
Case 3:20-cv-00264-DWD         Document 155 Filed 03/28/25           Page 7 of 30     Page ID
                                         #4981



by itself, provides an actionable grievance. Bryant, 958 F.3d at 621 (citing Rosenbach v. Six

Flags Entm’t Corp., 2019 IL 123186, ¶ 33); Patterson, 593 F. Supp. 3d at 802. However,

§ 15(b) requires an “active step” by the defendant to “obtain” the plaintiff’s biometric

identifiers or information. Clark v. Microsoft Corp., 688 F. Supp. 3d 743, 746 (N.D. Ill. 2023)

(collecting cases); accord Jones v. Microsoft Corp., 649 F. Supp. 3d 679, 683 (N.D. Ill. 2023);

Patterson, 593 F. Supp. 3d at 824. That requirement is based, in part, on the Illinois General

Assembly’s premising of § 15(a), (c), (d), and (e), but not § 15(b), on the mere “possession”

of biometric identifiers or information. Clark, 688 F. Supp. at 746-47 (citing Chicago

Teachers Union, Local No. 1 v. Bd. of Educ. of the City of Chicago, 2012 IL 112566, ¶ 24);

see also Jones, 649 F. Supp. 3d at 683 (noting this decision and stating, “§ 15(b) does not

penalize merely possessing biometric identifiers or information, unlike other BIPA

sections”); Patterson, 593 F. Supp. 3d at 824 (stating, as to § 15(b), “ ‘there is a difference

between possessing and collecting biometric information.’ ”) (Emphasis in original.). Also,

“otherwise obtain” is “best construed as requiring something beyond passive possession

or receipt” since it follows active verbs. Clark, 688 F. Supp. at 747 (citing Pooh-Bah Enters.,

Inc. v. County of Cook, 232 Ill. 2d 463, 492 (2009)); see also Jones, 649 F. Supp. 3d at 683-84

(“[E]ven the catch-all phrase ‘otherwise obtain’ contemplates some type of affirmative

effort.”). “[T]he statutory construction offered above shows that, ‘[u]nder a commonsense

reading,’ ‘the private entity must undertake some effort to collect or obtain biometric

identifiers or information.’ ” Clark, 688 F. Supp. at 747; see also Jones, 649 F. Supp. 3d at

683-84 (“Although BIPA does not say the words ‘active step,’ this concept simply

describes the unifying characteristic among the verbs in the statute.”).

                                              7
Case 3:20-cv-00264-DWD         Document 155 Filed 03/28/25          Page 8 of 30     Page ID
                                         #4982



       Finally, § 15(d) of BIPA provides:

       (d) No private entity in possession of a biometric identifier or biometric
       information may disclose, redisclose, or otherwise disseminate a person’s
       or a customer’s biometric identifier or biometric information unless:

              (1) the subject of the biometric identifier or biometric information or
       the subject’s legally authorized representative consents to the disclosure or
       redisclosure;

             (2) the disclosure or redisclosure completes a financial transaction
       requested or authorized by the subject of the biometric identifier or the
       biometric information or the subject’s legally authorized representative;

             (3) the disclosure or redisclosure is required by State or federal law
       or municipal ordinance; or

             (4) the disclosure is required pursuant to a valid warrant or
       subpoena issued by a court of competent jurisdiction.

740 ILCS 14/15(d); see also Cothron v. White Castle Sys., Inc., 477 F. Supp. 3d 723, 731 (N.D.

Ill. 2020) (“Like Section 15(b), an entity violates [§ 15(d)] the moment that, absent consent,

it discloses or otherwise disseminates a person’s biometric information to a third party.

The injuries resulting from these violations do not need time to blossom or accumulate.

Time may exacerbate them, but an injury occurs immediately upon violation.”).

       The Court emphasizes § 15(a) and (d), unlike § 15(b), requires the plaintiff to show

the defendant was “in possession” of biometric identifiers or information. See Clark, 688

F. Supp. 3d at 749; Patterson, 593 F. Supp. 3d at 822. While “in possession” is not defined

by BIPA, courts have required evidence that the defendant exercised “dominion or

control” of the biometric identifiers or information. Wilk v. Brainshark, Inc., 631 F. Supp.

3d 522, 530-31 (N.D. Ill. 2022) (citing Heard v. Becton, Dickinson & Co., 440 F. Supp. 3d 960,

968 (N.D. Ill. 2020)). Such a requirement is consistent with the ordinary meaning of

                                              8
Case 3:20-cv-00264-DWD          Document 155 Filed 03/28/25            Page 9 of 30      Page ID
                                          #4983



“possession,” “which is ‘ “the act or condition of having in or taking into one’s control or

holding at one’s disposal.” ’ ” See Clark, 688 F. Supp. 3d at 749 (quoting People v. Ward,

215 Ill. 2d 317 (2005); Webster’s Third New International Dictionary 1770 (1986));

Patterson, 593 F. Supp. 3d at 822 (quoting Rosenbach, 2019 IL 123186, ¶ 29); accord Hazlitt

v. Apple Inc., 543 F. Supp. 3d 643, 653 (S.D. Ill. 2021). That definition does not contemplate

exclusive control, and nothing indicates it is inapplicable to BIPA. Patterson, 593 F. Supp.

3d at 822-23 (quoting Heard, 440 F. Supp. 3d at 968); accord Hazlitt, 543 F. Supp. 3d at 653.

       Here, while accepting all well-pled facts as true and drawing all reasonable

inferences for Plaintiffs, the Court finds they pled enough facts to state facially plausible

claims to relief, which is all that is required at this stage in the case. See Kloss, 462 F. Supp.

3d at 874-76; Fosnight, 41 F.4th at 921-22; Trivedi, 609 F. Supp. 3d at 631. In sum, Plaintiffs

allege, as employees of Club Fitness, they were required to scan their fingerprints on

Defendant’s biometric timeclock in order to track their time worked. (Doc. 40, pgs. 2, 12).

As a result of that experience, Defendant allegedly “collected” or “secured” Plaintiffs’

biometric identifiers and information, without complying with BIPA, and then

“managed,” “enrolled,” or “stored” that “fingerprint biometric data in its databases.”

(Doc. 40, pgs. 2, 4-5, 9-13, 17-21). According to Plaintiffs, they were never informed of the

specific purpose or length of time for which Defendant would engage in that activity, any

publicly available data retention policy of Defendant, or whether Defendant would ever

delete their biometric data. (Doc. 40, pgs. 4-5, 9-12, 17-20). Likewise, Plaintiffs allege they

were never provided with a written release by Defendant. (Doc. 40, pgs. 5, 12, 19-20).

Finally, Plaintiffs allege, albeit on information and belief, that Defendant “systematically

                                                9
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25           Page 10 of 30     Page ID
                                        #4984



and automatically” discloses, rediscloses, or otherwise disseminates “its Biometric Time

Clock users’ fingerprint…data to other, currently unknown, third parties, including but

not limited to Defendant’s clients and/or other third parties that host biometric data in

their data center(s),” without the consent required under BIPA. (Doc. 40, pgs. 5, 10, 21).

       From these allegations, it is reasonable to infer under § 15(a) and (d) that

Defendant was “in possession” of Plaintiffs’ biometric identifiers or information.

See Clark, 688 F. Supp. 3d at 749; Patterson, 593 F. Supp. 3d at 822-23; Hazlitt, 543 F. Supp.

3d at 653. And, as to § 15(a), it is reasonable to infer from the above allegations that

Defendant failed to develop, publicly disclose, and comply with a written data retention

and destruction policy. See 740 ILCS 14/15(a); Fox, 980 F.3d at 1149, 1154-55; Thornley, 984

F.3d at 1245; Patterson, 593 F. Supp. 3d at 802; Warmack-Stillwell, 655 F. Supp. 3d at 744-

45; Sosa, 600 F. Supp. 3d at 868-69. Further, Plaintiff adequately alleged Defendant

“collected” or “captured,” then “stored,” their biometric information or identifiers

without providing the written information or release described in § 15(b). See 740 ILCS

14/15(b); Cothron, 2023 IL 128004, ¶ 23. And, importantly, the Court can reasonably infer

that Defendant took an “active step” to “obtain” Plaintiffs’ biometric identifiers or

information, i.e., Defendant “managed,” “enrolled,” or “stored” Plaintiffs’ biometric

identifiers and information on its databases after that biometric data was “collected” or

“secured” through the finger scan timeclock sold to and used by Club Fitness. See Clark,

688 F. Supp. 3d at 746; Jones, 649 F. Supp. 3d at 683; Patterson, 593 F. Supp. 3d at 824.

Finally, although it appears Plaintiffs did the bare minimum with its allegations under

§ 15(d), the Court can reasonably infer from the factual circumstances that Defendant

                                             10
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25           Page 11 of 30      Page ID
                                        #4985



disclosed or otherwise disseminated Plaintiffs’ biometric identifiers or information,

without consent or the application of the other exceptions contained in that statutory

provision, to “clients and/or other third parties that host biometric data in their data

center(s),” which could include, at a minimum, Club Fitness itself. See 740 ILCS 14/15(d).

To be sure, Plaintiffs’ allegations under § 15 will be the subject of rigorous merits

arguments later in the case. For now, though, it suffices for the Court to conclude that the

First Amended Class Action Complaint satisfies the liberal federal pleading standards.

       As an aside, the Court notes certain arguments of Defendant would be more

appropriately raised later in the proceedings. First, as to the argument Plaintiffs did not

allege negligent, reckless, or intentional misconduct to support damages, the Court notes

the “menu of remedies” contained in § 20 is not “a list of the necessary elements of a BIPA

claim.” Brandenburg v. Meridian Senior Living, LLC, 564 F. Supp. 3d 627, 634 (C.D. Ill. 2021);

see also 740 ILCS 14/20; (Docs. 106, pg. 2; 107, pgs. 7, 20-21). In other words, a mental state

is not an element of a violation of § 15 and, as noted by the Central District of Illinois,

“any person ‘aggrieved by a violation,’ including under Section 14/15, ‘shall have a right

of action’ in court without qualification.” Brandenburg, 564 F. Supp. 3d at 634. Thereafter,

mental state requirements for damages are relevant to the “remedies that ‘[a] prevailing

party may recover for each violation.’ ” Id. (quoting 740 ILCS 14/20) (Emphasis in

original omitted.). Therefore, the mental state requirements contained in § 20, and now

invoked by Defendant, “are separate and apart from the elements of a BIPA violation,”

such that Plaintiffs were not required to plead facts that show Defendant’s mental state

in order to adequately allege a claim to relief under § 15. Id. at 634-35 (citing Rosenbach,

                                              11
Case 3:20-cv-00264-DWD         Document 155 Filed 03/28/25           Page 12 of 30      Page ID
                                         #4986



2019 IL 123186, ¶ 36; Snider v. Heartland Beef, Inc., 479 F. Supp. 3d 762, 772-73 (C.D. Ill.

2020); Cothron v. White Castle Sys., Inc., 467 F. Supp. 3d 604, 618 (N.D. Ill. 2020); Burlinski

v. Top Golf USA Inc., No. 19-cv-6700, 2020 WL 5253150, *8 (N.D. Ill. Sept. 3, 2020)).

       Second, at this stage, the Court rejects the argument that Plaintiffs are seeking a

duplicative recovery. (Doc. 107, pgs. 21-23). This is a legal argument that speaks to the

availability of remedies rather than to the federal pleading standards or to Defendant’s

potential liability. See Park Ridge Sports, Inc. v. Park Ridge Travel Falcons, No. 20-cv-2244,

2020 WL 8409295, *2 (N.D. Ill. Aug. 26, 2020) (striking affirmative defense related to

duplicative recoveries, with prejudice, as it was a “legal argument[] about the availability

of remedies, not [a] defense[] to liability). And, clearly, based upon the allegations in the

First Amended Class Action Complaint, Plaintiffs are correct that they seek to recover for

the “separate and independent BIPA violations” of Defendant rather than for those of

Club Fitness. (Doc. 116, pgs. 17-18). It remains to be seen whether Plaintiffs may do so.

For now, though, it suffices to say that Plaintiffs pled facially plausible claims to relief.

       Third and finally, the Court declines Defendant’s invitation to apply the

extraterritoriality doctrine at this stage of the case. (Docs. 106, pg. 2; 107, pgs. 7, 23-24).

The Supreme Court of Illinois has recognized a “long-standing rule of construction in

Illinois which holds that a ‘statute is without extraterritorial effect unless a clear intent in

this respect appears from the express provisions of the statute.’ ” Avery v. State Farm Mut.

Auto. Ins. Co., 216 Ill. 2d 100, 184–85 (2005) (quoting Dur-Ite Co. v. Indus. Comm’n, 394 Ill.

338, 350 (1946); Graham v. Gen. U.S. Grant Post No. 2665, V.F.W., 43 Ill. 2d 1, 6 (1969); citing

Sale v. Haitian Ctrs. Council, Inc., 509 U.S. 155, 188 (1993); 73 Am. Jur. 2d Statutes § 250

                                              12
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25           Page 13 of 30      Page ID
                                        #4987



(2001)). Since BIPA does not express such an intent, it does not apply extraterritorially.

See Sloan v. Anker Innovations Ltd, 711 F. Supp. 3d 946, 959 (N.D. Ill. 2024) (quoting Monroy

v. Shutterfly, Inc., No. 16-cv-10984, 2017 WL 4099846, *5 (N.D. Ill. Sept. 15, 2017));

accord Ronquillo v. Drs. Assocs., LLC, 597 F. Supp. 3d 1227, 1233-34 (N.D. Ill. 2022); In re

Clearview AI, Inc., Consumer Priv. Litig., 585 F. Supp. 3d 1111, 1121 (N.D. Ill. 2022). As a

result, “the circumstances that relate to the disputed transaction [must] occur primarily

and substantially in Illinois.” Avery, 216 Ill. 2d at 187; accord Sloan, 711 F. Supp. 3d at 959

(stating this rule in the context of BIPA); Ronquillo, 597 F. Supp. 3d at 1234 (same).

       However, there is not a single formula or bright-line test for determining whether

a transaction primarily and substantially occurred in Illinois, meaning each case must be

decided on its own facts. Avery, 216 Ill. 2d at 187; accord Sloan, 711 F. Supp. 3d at 959. And,

importantly, a plaintiff is still only required to plead facially plausible claims to relief to

defeat a Rule 12(b)(6) motion to dismiss. See Ronquillo, 597 F. Supp. 3d at 1234; In re

Clearview AI, Inc., 585 F. Supp. 3d at 1121-22. At a minimum, Plaintiffs have done so with

respect to the extraterritoriality doctrine by alleging: (1) as employees of Club Fitness in

Illinois, they were required to scan their fingerprints on a biometric timeclock that was

sold by Defendant to an Illinois company, located in Illinois, and tracked their work in

Illinois; and (2) Defendant “managed,” “enrolled,” or “stored” Plaintiffs’ biometric data,

which was “collected” or “secured” in Illinois, on its databases. See Ronquillo, 597 F. Supp.

3d at 1234 (finding, in the context of a Rule 12(b)(6) motion to dismiss, the plaintiff’s

allegations sufficed to suggest BIPA violations occurred primarily and substantially in

Illinois, where the plaintiff alleged her fingerprints were scanned in Illinois and then

                                              13
Case 3:20-cv-00264-DWD         Document 155 Filed 03/28/25           Page 14 of 30      Page ID
                                         #4988



stored on hardware that was located and leased by a business in Illinois); Neals v. PAR

Tech. Corp., 419 F. Supp. 3d at 1091-92 (N.D. Ill. 2019) (“[I]n light of the fact that [the

plaintiff] does not specify the location…[where] she worked, the Court is unable to

reasonably infer from the complaint that her fingerprint was collected in Illinois. If

plaintiff were able to so allege, then she would sufficiently allege facts indicating that the

circumstances relating to the alleged transaction occurred primarily and substantially in

Illinois; the transaction would allegedly involve an Illinois resident having her biometric

information collected in Illinois by a private entity, without the entity’s having provided

the requisite disclosures and obtained the requisite consent there.”); (Doc. 40, pgs. 2, 4-5,

9-13, 17-21). This is true even if, as Defendant suggests, its databases are not located in

Illinois. See Neals, 419 F. Supp. 3d at 1091 (finding the defendant’s argument that it was

merely a nonresident corporation that offered point-of-sale technology to its customers,

but not their employees, without holding property or storing data in Illinois, was

unpersuasive, as the defendant’s “physical location and property holdings, the location

of its servers, and the identity of its customers [we]re not determinative” and “h[ad] little

to do with the collection of the plaintiff’s fingerprint through the defendant’s customer’s

use of the defendant’s system); Patel v. Facebook, Inc., 932 F.3d 1264, 1276 (9th Cir.

2019) (“[I]t is reasonable to infer that the General Assembly contemplated BIPA’s

application to individuals who are located in Illinois, even if some relevant activities

occur outside the state.”). In light of these allegations, the Court follows the principle that

“the application of the extraterritoriality doctrine is a fact intense inquiry that is best left

for summary judgment once the parties have completed discovery.” In re Clearview AI,

                                              14
Case 3:20-cv-00264-DWD            Document 155 Filed 03/28/25                Page 15 of 30        Page ID
                                            #4989



Inc., 585 F. Supp. 3d at 1122 (citing Rivera v. Google Inc., 238 F.Supp.3d 1088, 1101 (N.D.

Ill. 2017); Vance v. IBM, No. 20-cv-577, 2020 WL 5530134, *3 (N.D. Ill. Sept. 2020)).

        For these reasons, Defendant’s Amended Motion to Dismiss is DENIED.

           B. Plaintiffs’ Renewed Motion for Class Certification under Rule 23

        The Renewed Motion for Class Certification seeks to certify the following class:

        All individuals working in the State of Illinois who had their fingerprints,
        hand geometry or other biometric data collected, captured, received, or
        otherwise obtained or disclosed by Defendant’s Perform Time biometric
        timekeeping system during the applicable statutory period.

(Doc. 103, pg. 12). 3

        Under Rule 23(a), members of a class may sue as representatives of the class only

if: (1) the class is so numerous that the joinder of all members would be impracticable;

(2) there are questions of law or fact that are common to the class; (3) the claims of the

representatives are typical of the claims of the class; and (4) the representatives fairly and

adequately protect the interests of the class. Fed. R. Civ. P. 23(a). If these requirements

are satisfied, then a class action may be maintained if, as is relevant here, the Court finds

the common questions of law or fact predominate over any questions affecting only

individual members and a class action would be superior to the other available methods

of fairly and efficiently adjudicating the controversy. Fed. R. Civ. P. 23(b)(3).

        When considering a motion for class certification, the Court must go beyond the

pleadings and, if necessary, receive evidence on any disputed material issues. Beaton v.



        3Thisproposed class is more specific than that proposed in the First Amended Class Action
Complaint, as Plaintiffs now request the certification of a class pertaining, specifically, to “Defendant’s
Perform Time biometric timekeeping system.” Compare (Doc. 13, pg. 12), with (Doc. 40, pg. 14).

                                                    15
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25            Page 16 of 30     Page ID
                                        #4990



SpeedyPC Software, 907 F.3d 1018, 1025 (7th Cir. 2018) (citing Bell v. PNC Bank, Nat’l Ass’n,

800 F.3d 360, 377 (7th Cir. 2015); Szabo v. Bridgeport Machs., Inc., 249 F.3d 672, 675–76 (7th

Cir. 2001)). While “the merits are not on the table,” Plaintiffs have the burden of proving

by a preponderance of the evidence that Rule 23 is satisfied. Id. (citing Abbott v. Lockheed

Martin Corp., 725 F.3d 803, 810 (7th Cir. 2013); Messner v. Northshore Univ. HealthSystem,

669 F.3d 802, 811 (7th Cir. 2012); Steimel v. Wernert, 823 F.3d 902, 917 (7th Cir. 2016)). The

Court has broad discretion to decide whether class certification is proper. Jacks v. DirectSat

USA, LLC, 118 F.4th 888, 894 (7th Cir. 2024) (quoting Chavez v. Ill. State Police, 251 F.3d

612, 629 (7th Cir. 1997)). Finally, orders certifying class actions must appoint class counsel,

define the class, and define the claims, issues, or defenses. Fed. R. Civ. P. 23(c)(1)(B), (g).

       With these legal principles in mind, the Court resolves the arguments presented

in relation to Plaintiffs’ Renewed Motion for Class Certification.

                                       1. Numerosity

       As to the numerosity requirement contained in Rule 23(a)(1), the “class

representative must show ‘that it is extremely difficult or inconvenient to join all the

members of the class.’ ” Anderson v. Weinert Enter., Inc., 986 F.3d 773, 777 (7th Cir. 2021)

(quoting 7A C. Wright & A. Miller, Federal Practice & Procedure § 1762 (3d ed. 2011)). It

is not enough to allege a class action would make litigation easier, as the proper focus is

on the practicality of joinder rather than the mere number of class members. Id. For this

reason, the Court evaluates the nature of the action, the size of the individual claims, and

the location of the members of the class. Id. (quoting Wright & Miller, § 1762).




                                              16
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25           Page 17 of 30      Page ID
                                        #4991



       Here, Defendant does not contest Plaintiffs’ assertion that the proposed class is

sufficiently numerous. Its witness under Federal Rule of Civil Procedure 30(b)(6), Mitri

Dahdaly, who is the director of product management, stated there were “approximately

14,000 total people over the course of a five-year period…who pay taxes in Illinois and

also had a finger scan template” on its Perform Time product line. (Docs. 103, pg. 16; 103-

1, pgs. 6-7). Plaintiffs assert “[f]urther review of Defendant’s Perform Time user databases

during the applicable statutory period is all that is needed to determine membership in

the proposed class” and, “[o]nce Defendant’s complete records are obtained, the Parties

and the Court will know the precise number of persons affected.” (Docs. 103, pg. 16; 103-

1, pgs. 11-12). Due to the nature of this BIPA class action, the size of the individual claims,

and the location of the members of the class in Illinois, the Court FINDS Plaintiffs have

satisfied the numerosity requirement. Fed. R. Civ. P. 23(a)(1); Anderson, 986 F.3d at 777.

                                      2. Commonality

       As to the commonality requirement contained in Rule 23(a)(2), “[o]ne common

question is enough, but not just any question will do.” Howard v. Cook Cnty Sheriff’s Office,

989 F.3d 587, 598 (7th Cir. 2021) (citing Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359

(2011); Jamie S. v. Milwaukee Pub. Sch., 668 F.3d 481, 497 (7th Cir. 2012)). The class claims

must depend upon a common contention that is capable of class-wide resolution; in other

words, the determination of its truth or falsity must resolve an issue that is central to the

validity of each claim in “one stroke.” Id. (quoting Wal-Mart Stores, Inc., 564 U.S. at 350);

citing Rubenstein, Newberg on Class Actions § 3:18); accord Beaton, 907 F.3d at 1026.




                                              17
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25          Page 18 of 30     Page ID
                                        #4992



       Plaintiffs suggest “[a]t the heart of this litigation are simple and straightforward

legal questions that plainly lend themselves to class-wide resolution.” (Doc. 103, pg. 17).

Specifically, Plaintiffs assert the following questions are common to the proposed class:

       (1) whether Paycor collected, captured or otherwise obtained Plaintiffs’ and
       the Class’s biometric identifiers or biometric information; (2) whether
       Paycor properly informed Plaintiffs and the Class of its purposes for
       collecting, using, and storing their biometric identifiers or biometric
       information; (3) whether Paycor obtained a written release (as defined in
       740 ILCS 14/10) to collect, use, and store Plaintiffs’ and the Class’s
       biometric identifiers or biometric information; (4) whether Paycor disclosed
       or re-disclosed Plaintiffs’ and the Class’s biometric identifiers or biometric
       information; (5) whether Paycor has sold, leased, traded, or otherwise
       profited from Plaintiffs’ and the Class’s biometric identifiers or biometric
       information; (6) whether Paycor developed a publicly-available written
       policy establishing a retention schedule and guidelines for permanently
       destroying biometric identifiers and biometric information when the initial
       purpose for collecting or obtaining such identifiers or information has been
       satisfied or within three years of their last interaction, whichever occurs
       first; (7) whether Paycor complies with any such written policy; (8) whether
       Paycor used Plaintiffs’ and the Class’s biometric data to identify them; and
       (9) whether Paycor’s violations of BIPA were intentional, reckless, or
       negligent.

(Doc. 103, pgs. 17-18).

       Plaintiffs argue “Defendant treated all Perform Time Users—the entire proposed

class—identically to the extent they subjected each of the proposed class members to the

exact same alleged violations of BIPA.” (Doc. 103, pg. 18). Therefore, “once the Court

determines whether Paycor’s practices constituted violations of BIPA, liability for the

claims of all class members will be determined in one stroke.” (Doc. 103, pg. 18). Plaintiffs

note “there may be slight, immaterial differences in the details of Plaintiffs’ claims and

those of other putative class members, [but] their claims are all based on the same legal

theory” and will likely be subject to the same defenses of Defendant. (Doc. 103, pg. 19).

                                             18
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25           Page 19 of 30      Page ID
                                        #4993



       Defendant, for its part, asserts there is no common question at play in this case, as

Plaintiffs “merely reassert[s] the elements of their claims” and the record confirms

differences in the ways customers used its devices to be BIPA-claim determinative (e.g.,

whether it possessed certain employee data). (Doc. 125, pgs. 10, 24). Defendant claims its

customers, not itself, “configure the devices to best serve their business needs,” “install

and choose where to place the devices,” “choose whether and how devices are

connected,” choose whether “to give employees the ability to…use a proximity badge or

finger to interact with the device,” choose whether “to allow Paycor access to templates

hosted on the tenant-segregated database,” choose between devices at different times and

with different technologies, and “choose to replicate templates between devices” or to

only use templates with a single device. (Docs. 125, pgs. 24-25; 125-1, pgs. 5-8, 10-11, 15).

These are allegedly material differences that impact the core of Plaintiffs’ claims because

templates are created and stored in the Perform Time device possessed by each customer,

templates are stored in the tenant-segregated database with the customer’s dedicated

environment, that storage is akin to a safety deposit box that a bank would provide to a

customer, whether Defendant can access a template is left to the discretion of the

customer, and whether Defendant can access a template is different from whether it

actually did access a template. (Docs. 125, pg. 25; 125-1, pgs. 8, 11; 125-2, pgs. 6-8).

       Here, it is true the nine common questions proposed by Plaintiffs track the

language of §§ 15 and 20. However, Plaintiffs assert the same legal theory and shared

characteristics of the entire proposed class, namely, that each individual was working in

Illinois when their fingerprints, hand geometry, or other biometric data was collected,

                                              19
Case 3:20-cv-00264-DWD         Document 155 Filed 03/28/25            Page 20 of 30      Page ID
                                         #4994



captured, received, or otherwise obtained or disclosed by the Perform Time biometric

timekeeping system. (Doc. 103, pgs. 12, 18-19). Even if Defendant’s customers have

options for configuring Perform Time devices, the record suggests those customers could,

inter alia, allow connectivity for Defendant to collect, capture, receive, or otherwise obtain

and store biometric data, possess biometric data, and replicate, transmit, or disclose

biometric data to an associated third party all without § 15 compliance. See, e.g., (Docs.

103-1, pgs. 7, 13-16, 25, 27-28, 32, 34-35, 37; 103-2, pgs. 22, 30, 61-62; 103-3, generally; 103-

4, pg. 2). Therefore, while avoiding delving into the merits of Plaintiffs’ claims, as it must,

the Court agrees the nine proposed questions involve a common application of § 15 that

will be determinative of liability to the entire proposed class. See Flynn v. FCA US LLC,

327 F.R.D. 206, 222-23 (S.D. Ill. 2018) (“Courts have generally described th[e]

[commonality] requirement as a low hurdle to surmount, and it is satisfied when a

common nucleus of operative facts exist. [Citation]. Class certification will not be

defeated solely because there are some factual variations among the grievances of the

class members. [Citations]. Rather, Plaintiffs must demonstrate that they suffered the

same injury and that their claims can be resolved on a class-wide basis…. What matters

is the ‘capacity of a classwide proceeding to generate common answers apt to drive the

resolution of the litigation.’ [Citation]. Courts have found that a sufficient common

nucleus of operative fact exists where a defendant has engaged in standardized conduct

toward members of the class.”) (Emphasis in original omitted.). And, notably, individual

questions related to the choices of Defendant’s customers will be addressed further below



                                               20
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25           Page 21 of 30      Page ID
                                        #4995



as a matter of predominance. For now, it suffices for the Court to find the commonality

requirement is satisfied in this case. See Howard, 989 F.3d at 598; Beaton, 907 F.3d at 1026.

                      3. Typicality and Adequacy of Representation

       As to the typicality requirement contained in Rule 23(a)(3), the claims of the class

representatives must be based on the same legal theory and arise from the same event,

practice, or course of conduct as those of the other class members. Howard, 989 F.3d at 605

(quoting Keele v. Wexler, 149 F.3d 589, 595 (7th Cir. 1998)); accord Beaton, 907 F.3d at 1026.

This requirement ensures the class representatives’ claims have the same essential

characteristics as those of the class. Howard, 989 F.3d at 605 (quoting Lacy v. Cook Cnty.,

897 F.3d 847, 866 (7th Cir. 2018)). Importantly, it is proper for individual claims to “feature

some factual variations” if they still maintain those essential characteristics. Beaton, 907

F.3d at 1026 (quoting Oshana v. Coca-Cola Co., 472 F.3d 506, 514 (7th Cir. 2006)). “The logic

behind the typicality requirement ‘is that a class representative will adequately pursue

her own claims, and if those claims are “typical” of those of the rest of the class, then her

pursuit of her own interest will necessarily benefit the class as well.’ ” Howard, 989 F.3d

at 605 (quoting Rubenstein, Newberg on Class Actions § 3:28). In this way, the typicality

requirement, unlike the commonality requirement, focuses on the attributes of the class

representatives rather than the shared characteristics of the entire class. Id. at 606 (quoting

Rubenstein, Newberg on Class Actions § 3:31; citing Wal-Mart Stores, Inc., 564 U.S. at 350).

       Further, as to the adequacy of representation requirement contained in Rule

23(a)(4), the Court must consider the adequacy of the proposed class counsel and, in light

of their “differing and separate interests” or injuries, the adequacy of the named plaintiffs

                                              21
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25           Page 22 of 30      Page ID
                                        #4996



as representatives of the proposed class’s “myriad of members.” Gomez v. St. Vincent

Health, Inc., 649 F.3d 583, 592 (7th Cir. 2011) (citing Retired Chicago Police Ass’n v. City of

Chicago, 7 F.3d 584, 598 (7th Cir.1993); Greisz v. Household Bank (Illinois), N.A., 176 F.3d

1012, 1013 (7th Cir.1999)). The adequacy of representation “inquiry ‘serves to uncover

conflicts of interest between named parties and the class they seek to represent’ ” while

“also screen[ing] for conflicts of interest among class members,” as “the same

representative parties cannot adequately represent class members with divergent

interests.” Howard, 989 F.3d at 609-10 (quoting Amchem Prods., Inc. v. Windsor, 521 U.S.

591, 625 (1997); citing Johnson v. Meriter Health Servs. Emp. Ret. Plan, 702 F.3d 364, 372 (7th

Cir. 2012)). The Seventh Circuit has noted, though, “that ‘the mere possibility that a trivial

level of intra-class conflict may materialize as the litigation progresses’ does not prevent

class certification.’ ” Id. at 610 (quoting Abbott, 725 F.3d at 813). The Court can certify

subclasses, with separate representation, if and when the potential conflicts become real.

Id. (quoting Kohen v. Pac. Inv. Mgmt. Co. LLC, 571 F.3d 672, 680 (7th Cir. 2009)).

       Similar to the discussion of commonality, Plaintiffs argue their BIPA claims are

typical because they arise from the same course of conduct of Defendant, namely, its

failure to comply with BIPA before collecting, obtaining, using, storing, or disclosing the

biometric data of Perform Time users. (Doc. 103, pg. 19). They again state, while there

may be “immaterial factual differences between claims of the Plaintiffs and those of other

proposed class members—for example, different Paycor customer-employer[s]—their

claims are nevertheless based on the same legal theory.” (Doc. 103, pgs. 19-20). Plaintiffs

explain, “regardless of Paycor customer or customer location, each Perform Time User is

                                              22
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25           Page 23 of 30     Page ID
                                        #4997



required to enroll his or her biometric identifier on Paycor’s timekeeping device by

scanning it to create a template, which is used to create a time punch each time s/he

clocked in and out for work.” (Doc. 103, pg. 19). Defendant then allegedly “transmits and

stores each Perform Time User’s biometric data ‘template’ to their own data centers, or

to their third-party hosting service, Microsoft Azure.” (Doc. 103, pg. 19). Thus, Plaintiffs

argue each proposed class member, regardless of their job or location, “was subject to the

same uniform biometric data collection and timekeeping policies.” (Doc. 103, pg. 19).

       On the issue of the adequacy of representation, Plaintiffs argue they are members

of, and will fairly represent, the proposed class. (Doc. 103, pg. 19). Like the proposed class

members, they had to provide Defendant “with their biometric data in connection with

their employment and [it] collected and managed their biometric data.” (Doc. 103, pg.

21). Also, like other Perform Time users, Plaintiffs were allegedly required to enroll their

biometric data in Defendant’s databases at a time when it failed to comply with a publicly

available retention and destruction policy or receive informed, written consent about the

collection, capture, storage, use, and dissemination of biometric data. (Doc. 103, pg. 21).

Finally, Plaintiffs note their “commitment to vigorous litigation” to this point in the case

and the absence of “any interests antagonistic to the class.” (Doc. 103, pg. 22).

       Defendant responds that Plaintiffs are atypical and inadequate representatives of

the proposed class. (Doc. 125, pgs. 9-10, 14-23). Those views are based on the following

claims: (1) Plaintiff Johns did not use Perform Time in Illinois; (2) Plaintiffs’ biometric

data was timely deleted, resulting in a lack of standing; (3) Plaintiffs recovered from

Defendant’s customer, Club Fitness, so their claims conflict with those of the proposed

                                             23
Case 3:20-cv-00264-DWD          Document 155 Filed 03/28/25            Page 24 of 30      Page ID
                                          #4998



class; and (4) some class members received notice and/or provided consent under BIPA,

including via an employer or union, so they have no claim. (Doc. 125, pgs. 9-10, 14-23).

       Here, notwithstanding Defendants’ arguments, the Court finds Plaintiffs have

satisfied the typicality and adequacy of representation requirements. Similar to what was

noted in relation to the commonality requirement, Plaintiffs’ claims are based on the same

legal theory and arise from the same practice or course of conduct of Defendant as the

broader class. See Howard, 989 F.3d at 605; Beaton, 907 F.3d at 1026. Specifically, Plaintiffs’

claims have the same essential characteristics as the claims of the entire class because,

pursuant to uniform behavior stemming from its Perform Time biometric timekeeping

system after a user’s enrollment on that device, Defendant allegedly collected, captured,

received, or otherwise obtained and stored biometric data, possessed biometric data, and

replicated, transmitted, or disclosed biometric data to an associated third party all

without § 15 compliance. See Howard, 989 F.3d at 605; (Docs. 103, pgs. 12; 103-1, pgs. 7, 13-

16, 25, 27-28, 32, 34-35, 37; 103-2, pgs. 22, 30, 61-62; 103-3, generally; 103-4, pg. 2). For these

reasons, the Court can conclude Plaintiffs will adequately pursue their claims against

Defendant, which, in turn, will benefit the broader class. See Howard, 989 F.3d at 605-06.

       Further, Defendant does not contest the adequacy of the proposed class counsel,

who the Court now finds are satisfactory to represent the proposed class. See Gomez, 649

F.3d at 592; (Doc. 103, pgs. 22-25). Also, at this juncture, the Court finds Plaintiff Barron

adequately represents the proposed class, despite Defendant’s invocation of alleged

“differing and separate interests” or injuries. See Gomez, 649 F.3d at 592; Howard, 989 F.3d



                                                24
Case 3:20-cv-00264-DWD             Document 155 Filed 03/28/25                  Page 25 of 30         Page ID
                                             #4999



at 609-10. 4 As to both the typicality and adequacy of representation requirements, the

Court stresses Defendant’s conduct is at issue and, again, it is not fatal that there may be

some factual variances among certain individual claims or the possibility for “ ‘a trivial

level of intra-class conflict’ ” (e.g., variances related to Defendant’s customers or the

requisite notice and consent under BIPA). See Beaton, 907 F.3d at 1026; Howard, 989 F.3d

at 610. And, notably, this case is not presented on summary judgment, so it is not proper

to delve into the merits of fact-intensive claims and defenses. This is especially true where

the Court has already recognized an application of the extraterritoriality doctrine is best

left for summary judgment after the completion of merits discovery, Plaintiff Barron

enrolled in and used Perform Time in Illinois, a lack of standing as to just one claim

should be pled and proved as an affirmative defense, and there is no apparent conflict

between Plaintiffs and the proposed class since each claim is against only Defendant as

an initial matter. See City of Chicago v. DoorDash, Inc., 636 F. Supp. 3d 916, 921 (N.D. Ill.

2022) (“Courts are more likely to find that standing is properly listed as an affirmative

defense where, as here, the case is a diversity action and Illinois law would have required

defendants to include standing as an affirmative defense.”); Greer v. Illinois Hous. Dev.

Auth., 122 Ill. 2d 462, 494 (1988) (“In Illinois, lack of standing is an affirmative defense.”).




         4As to Plaintiff Johns, Plaintiffs admits: “Defendant claims that one of the Named Plaintiffs, Kellin

Johns, did not use its PTS in Illinois. Kellin Johns worked at multiple Club Fitness locations along the border
of Illinois and Missouri, and while it may be the case that Johns only enrolled on a PTS in Missouri, it is
undisputed that the other Named Plaintiff, Juan Barron, enrolled and used Paycor’s PTS in Illinois.” (Doc.
148, pg. 6). Based on this representation, the Court limits the class representation to Plaintiff Barron.

                                                      25
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25           Page 26 of 30      Page ID
                                        #5000



                             4. Predominance and Superiority

       As to the predominance requirement contained in Rule 23(b)(3), which is akin to,

but far more demanding than, the commonality requirement, the test is whether a

proposed class is sufficiently cohesive to warrant an adjudication by representation.

Amchem Prods., Inc., 521 U.S. at 623-24 (citing 7A Charles Alan Wright, Arthur R. Miller,

& Mary Kay Kane, Federal Practice and Procedure § 1777, pgs. 518-19 (2d ed.1986));

Howard, 989 F.3d at 607. The Seventh Circuit has explained predominance as follows:

       Rule 23(b)(3)’s predominance requirement is satisfied when common
       questions represent a significant aspect of a case and can be resolved for all
       members of a class in a single adjudication. Or, to put it another way,
       common questions can predominate if a common nucleus of operative facts
       and issues underlies the claims brought by the proposed class. If, to make
       a prima facie showing on a given question, the members of a proposed class
       will need to present evidence that varies from member to member, then it
       is an individual question. If the same evidence will suffice for each member
       to make a prima facie showing, then it becomes a common
       question. Individual questions need not be absent. The text of Rule
       23(b)(3) itself contemplates that such individual questions will be present.
       The rule requires only that those questions not predominate over the
       common questions affecting the class as a whole.

       Analysis of predominance under Rule 23(b)(3) begins, of course, with the
       elements of the underlying cause of action.

Messner, 669 F.3d at 815 (quoting Wright & Miller, § 1768; In re Nassau Cnty. Strip Search

Cases, 461 F.3d 219, 228 (2d Cir. 2006); Blades v. Monsanto Co., 400 F.3d 562, 566 (8th

Cir.2005); Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 809 (2011)) (cleaned up).

       Moreover, under Rule 23(b)(3), the Court’s findings as to predominance and

superiority are guided by four factors: (A) the class members’ interests in individually

controlling the prosecution of separate actions; (B) the extent and nature of any litigation,


                                              26
Case 3:20-cv-00264-DWD         Document 155 Filed 03/28/25           Page 27 of 30      Page ID
                                         #5001



concerning the controversy, that was already begun by class members; (C) the

desirability or undesirability of concentrating the litigation of the claims in the particular

forum; and (D) the likely difficulties in managing a class action. Fed. R. Civ. P. 23(b)(3).

       Plaintiffs maintain the issues related to class-wide liability predominate over any

individualized issues of the proposed class members. (Doc. 103, pgs. 26-27). As argued

by Plaintiffs and addressed by the Court elsewhere in this Memorandum & Order,

Plaintiffs allege they and the “proposed class members were uniformly subject to the

same scheme to collect, obtain, store, use and disseminate their biometric data without

complying with BIPA.” (Doc. 103, pgs. 26-27). For example, “[a]ny individualized

questions as to which of Paycor’s clients the Class Members worked for when using the

devices would not preclude predominance, because the collection, enrollment, storage,

and transmission of each Class Member’s biometric data is the same irrespective of

location or Paycor customer.” (Doc. 103, pg. 27). Therefore, Plaintiffs argue whether

Defendant violated BIPA can, and should, be decided for the class in a single action

without consideration of individual issues. (Doc. 103, pgs. 26-27). Similarly, Plaintiffs

state individual lawsuits by the proposed class members, as opposed to a class action,

will lead to unfair, inefficient, duplicative, or inconsistent results. (Doc. 103, pgs. 27-28).

       Defendant disagrees, arguing individualized questions predominate in this action

for the four following reasons: (1) many of its customers implemented BIPA consent

protocols, but it lacks control over whether or how they implemented and ensured

compliance with those protocols; (2) many of its customers have a unionized workforce

and collective bargaining agreement, which gives rise to issues of preemption and

                                              27
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25           Page 28 of 30     Page ID
                                        #5002



whether a legally authorized representative received notice or provided consent for an

employee; (3) its customers had varied uses and configurations for the Perform Time

solution; and (4) each class member must have standing to recover in this action. (Doc.

125, pgs. 28-30). Further, as to the superiority requirement, Defendant argues a class

action is not the best mechanism for resolving the proposed class’s claims because, as

previously argued, “whether Plaintiffs—let alon[e] the 14,000 individuals they hope to

represent—can assert claims against Paycor under BIPA depends extensively on their

individual relationship with their employer, not Paycor.” (Doc. 125, pg. 30). Defendant

suggests “teasing out these individual issues—including employer consent, union

membership, and [biometric] template access—through representative litigation

completely undermines the value of the class action device. (Doc. 125, pgs. 30-31).

       Here, the Court finds Plaintiffs satisfied the predominance and superiority

requirements. Keeping in mind that the predominance requirement is more demanding

than the commonality requirement, the Court is satisfied the class proposed by Plaintiffs

is sufficiently cohesive to warrant an adjudication of the claims against Defendant under

§ 15 (a), (b), and (d) by representation. See Amchem Prods., Inc., 521 U.S. at 623-24; Howard,

989 F.3d at 607. To be sure, the individual questions identified by Defendant, related to

the characteristics and conduct of the customers using Perform Time, can fairly be said

to exist in this case. However, individual questions do not preclude class certification,

and are actually contemplated by Rule 23(b)(3), when the common questions still

predominate over the action. See Messner, 669 F.3d at 815. The nine common questions

presented by Plaintiffs represent a significant aspect of the case, i.e., whether Defendant’s

                                             28
Case 3:20-cv-00264-DWD         Document 155 Filed 03/28/25              Page 29 of 30     Page ID
                                         #5003



allegedly uniform practice or course of conduct toward the class violated § 15(a), (b), and

(d), and can be efficiently answered based on a common nucleus of operative facts and

issues for the entire class in this adjudication. See id.; see also Beaton, 907 F.3d at 1029 (“The

guiding principle behind predominance is whether the proposed class’s claims arise from

a common nucleus of operative facts and issues. [Citation]. This requires more than a tally

of   common       questions;    the    district        court   must   consider   their   relative

importance. [Citation]. On the other hand, not every issue must be amenable to common

resolution; individual inquiries may be required after the class phase.”); Howard, 989 F.3d

at 607 (“ ‘There is no mathematical or mechanical test for evaluating predominance.’

[Citation]. Efficiency is the animating principle. [Citation]. To gauge whether a class

action would be more efficient than individual suits, ‘[t]he predominance inquiry “asks

whether the common, aggregation-enabling, issues in the case are more prevalent or

important than the non-common, aggregation-defeating, individual issues.” ’ ”). Finally,

the factors articulated in Rule 23(b)(3) support a finding of predominance and superiority

because any interest of the class members in individually controlling the prosecution of

separate actions does not outweigh the benefits of efficiency and consistency that are

achieved by a class action, the Court is unaware of other litigation that concerns these

particular claims and class members, the Southern District of Illinois is a desirable forum

in which to concentrate these BIPA claims, and the management of the case will not be so

difficult as to counsel against the certification of a class action. See Fed. R. Civ. P. 23(b)(3).




                                                  29
Case 3:20-cv-00264-DWD        Document 155 Filed 03/28/25           Page 30 of 30      Page ID
                                        #5004



            C. Defendant’s Motion to Strike New Arguments and Evidence
                from Plaintiffs’ Reply in Support of Class Certification

       Defendant takes issue with certain arguments and evidence in Plaintiffs’ Reply in

Support of their Renewed Motion for Class Certification. (Doc. 151; Sealed Doc. 152).

However, when resolving the Renewed Motion for Class Certification, it was

unnecessary for the Court to rely on the arguments or evidence arguably presented for

the first time in the Reply. As such, Defendant’s Motion to Strike is DENIED as moot.

                                    III. CONCLUSION

       As explained above, the Amended Motion to Dismiss is DENIED, the Renewed

Motion for Class Certification is GRANTED in part and DENIED in part, and the Motion

to Strike is DENIED as moot. The Court CERTIFIES the following class in this case:

       All individuals working in the State of Illinois who had their fingerprints,
       hand geometry or other biometric data collected, captured, received, or
       otherwise obtained or disclosed by Defendant’s Perform Time biometric
       timekeeping system during the applicable statutory period.

       The Court APPOINTS Plaintiff Juan Barron as class representative. The Court

APPOINTS the law firms of Stephan Zouras, LLC, and Peiffer, Wolf, Carr, Kane, Conway

& Wise, LLP, as class counsel. A Status Conference will be scheduled, approximately 30

days from the date of this Memorandum & Order, to discuss matters such as: (1) the need

to enter a scheduling and discovery order for additional merits discovery in advance of

the filing of dispositive motions; and (2) if necessary, other matters pertaining to the class.

       SO ORDERED.

       Dated: March 28, 2025.
                                                      s/ David W. Dugan
                                                      __________________________
                                                      DAVID W. DUGAN
                                                      United States District Judge

                                              30
